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 GROUP EXHIBIT 1
  Case: 1:18-cv-03424 Document #: 85-3 Filed: 02/05/19 Page 2 of 29 PageID #:2159



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS,
                               EASTERN DIVISION

Protect Our Parks, Inc.; Charlotte Adelman;         )
Maria Valencia and Jeremiah Jurevis;                )       No. 18-cv-03424
              Plaintiffs,                           )
v.                                                  )       Honorable John Robert Blakey
                                                    )
Chicago Park District and City of Chicago,          )       Jury Demanded
             Defendants.                            )



        PLAINTIFFS’ FIRST REQUEST TO PRODUCE TO CITY OF CHICAGO

Now come the Plaintiffs, Protect Our Parks, Inc.; Charlotte Adelman; Maria Valencia and
Jeremiah Jurevis, through their undersigned attorneys, and pursuant to Rule 34 of the Federal
Rules of Civil Procedure request that the Defendant, City of Chicago, produce the following
documents, electronically stored information and tangible things at the law offices of Roth
Fioretti, CCL 311 S. Wacker Drive, Suite 2470, Chicago Illinois within 30 days from service of
this Request to Produce.


                                        DEFINITIONS

For purposes of this Request to Produce, the following definitions shall apply unless otherwise
specifically indicated:

1.    The word "document" shall mean any written or graphic matter or other means of
preserving thought or expression, and all tangible things from which information can be
processed or transcribed, including, but not limited to, correspondence, memoranda, notes,
messages, letters, electronic mail (emails), facsimiles, telegrams, teletyped messages, bulletins,
diaries, chronological data, minutes, books, reports, charts, ledgers, invoices, worksheets,
receipts, computer printouts, schedules, affidavits, contracts, transcripts, surveys, graphic
representations of any kind, photographs, graphs, microfilm, video tapes, tape recordings, motion
pictures or other film and all electronically stored information.

2. "Person" means any natural person or any legal entity, including, but not limited to, a
corporation, partnership and unincorporated association, and any officer, director, employee,
agent or other person acting or purporting to act on its behalf.

3.     "And" and "or" shall be construed disjunctively or conjunctively as necessary in order to
bring within the scope of each request all documents which might otherwise be construed to be
outside its scope.


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4.       "Each" includes both "each" and "every."

5.     The singular and masculine gender shall, respectively, include the plural and feminine
gender, and vice versa.

6.     "Relating to," "relates to," and “regarding” mean, without limitation, relating to,
concerning, constituting, mentioning, referring to, describing, summarizing, evidencing, listing,
relevant   to,    demonstrating,    tending      to    prove     or disprove,     or    explain.

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telephone conversations, facsimiles, letters, electronic mail (email), telegrams, telexes, text
messages, tapes or other sound recordings, or other means of transmitting information from one
source to another.

8.     “Foundation” shall mean the Obama Foundation, and all other persons acting or
purporting to act on behalf of the Obama Foundation.

9.     “City of Chicago” shall mean the City of Chicago, a municipal corporation, and shall
include City departments, including but not limited the the Department of Planning and
Development, the Chicago Department of Transportation and the Office of the Mayor and all
other persons acting or purporting to act on behalf of the City.

10.    “Chicago Park District” shall mean the Chicago Park District, and all other persons acting
or purporting to act on behalf of the Chicago Park District.

11.      “OPC” shall mean a presidential center proposed by the Foundation.

12.   “OPC Site” shall mean the site for the Obama Presidential Center as defined in the 2018
Ordinance.

13.      “UofC” shall mean the University of Chicago.

14.      “UIC” shall mean the University of Illinois at Chicago.

15.    “RFP” shall mean the Foundation’s Request for Proposal issued on or about September
15, 2014 related to the OPC.

16.    “Bid Package” shall mean any proposal submitted by the University of Chicago or the
University of Illinois at Chicago in response to the RFP.

17.      “UPARR” shall mean the Urban Park and Recreation Recovery Act.

18.   “2015 Ordinance” shall mean the City of Chicago Ordinance attached to Plaintiff’s
Complaint as Exhibit A.

19.      “2018 Ordinance” shall mean the proposed Ordinance attached hereto as Exhibit B.

                                                 2
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20.   “Environmental Agreement” means the Environmental Remediation and Indemnity
Agreement attached as Exhibit F to the 2018 Ordinance.

21.     “Washington Park Site” shall mean the location in the northwest portion of Washington
Park proposed by the University of Chicago as a potential site for the OPC, as identified in the
City’s January 2015 Ordinance.

22.    “South Shore Cultural Center Site” shall mean the location described as “a location near
the South Shore Cultural Center in Jackson Park in the City’s January 2015 Ordinance.

23.    “Museum Act” means the Illinois Park District Aquarium and Museum Act, 70 ILCS
1290/0.01 et seq.

24.    “Amendment to Museum Act” means the amendments to the Museum Act enacted in the
year 2016, and referenced in Plaintiff’s Complaint.

25.      “NPS” means National Park Service.

26.      “FHA” means the Federal Highway Administration.

27.      “SHPO” means the Illinois Historic Preservation Office.

                                REQUEST FOR PRODUCTION

Produce all of the following documents and tangible things in your possession, custody or
control related to:

1.       Any financial and/or economic analysis relating to locating the OPC at any site in
         Chicago.
2.       Any and all documents related to any analysis related to costs and expenses to the public
         regarding locating the OPC on the OPC Site.
3.       Any and all documents related to any analysis discussing the public or private benefits to
         any private person or entity, regarding locating the OPC on the OPC Site.
4.       Any and all documents related to any analysis of benefits to the Foundation as a result of
         locating the OPC at the OPC Site.
5.       Any and all documents related to any analysis of benefits to the Foundation as a result of
         locating the OPC at any location in Chicago other than the OPC Site.
6.       Any and all documents related to any analysis related to costs and expenses to the public
         regarding locating the OPC on the Washington Park Site.
7.       Any and all documents related to any analysis, including but not limited to public or
         private benefits to any private person or entity, regarding locating the OPC on the
         Washington Park Site.
8.       Any and all documents related to any analysis related to costs and expenses to the public
         regarding locating the OPC on the South Shore Cultural Center Site.

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9.       Any and all documents related to any analysis, including but not limited to public or
         private benefits, regarding locating the OPC on the South Shore Cultural Center Site
10.      Any and all documents related to any analysis related to costs and expenses to the public
         regarding locating the OPC on a site in Chicago other than those referenced in Requests 2
         to 9 inclusive.
11.      Any and all documents related to any analysis, including but not limited to public or
         private benefits to any private person or entity, regarding locating the OPC on a site in
         Chicago other than those referenced in Requests 2-9.
12.      Any and all documents related to the change of boundaries of the OPC Site from the
         original location proposed in the 2015 Ordinance to the OPC Site.
13.      Any and all documents related to related to the fair market value of the OPC Site.
14.      Any and all covenants, restrictions, deeds, liens, encumbrances and grants related to
         Jackson Park at any time to the present.
15.      Any and all covenants, restrictions, deeds, liens, encumbrances and grants recorded on
         title to the OPC Site.
16.      Any and all title commitments or title reports related to the OPC Site.
17.      Any and all documents related to the cost to the State of Illinois as a result of locating the
         OPC at the OPC Site.
18.      Any and all documents related to the reason why the Presidential Center will not include
         a “Presidential Library,” as defined in The Presidential Library Act of 1955.
19.      Any and all documents related to the OPC’s compliance with the Museum Act.
20.      Any and all documents related to drafts of the Amendment to the Museum Act.
21.      Any and all documents related to lobbying related to amending the terms of the Museum
         Act.
22.      Any and all documents related to communications regarding the Amendment to the
         Museum Act.
23.      Any and all documents, including communications, to or from the Foundation related to
         the Museum Act.
24.      Any and all documents, including communications, to or from the UofC related to the
         Museum Act
25.      Any and all documents related to the City’s involvement with the Amendment to the
         Museum Act.
26.      Any and all documents related to the 2016 to the Amendment to the Museum’s Act’s
         declaration that “The changes made to this Section by this amendatory Act of the 99th
         General Assembly are declaratory of existing law and shall not be construed as a new
         enactment.”
27.      Any and all documents related to any analysis or study related to environmental or other
         remediation necessary to accommodate the OPC on the OPC Site.
28.      Any and all documents related to the City’s incremental costs of remediating the OPC
         Site as referenced in the Environmental Agreement.


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29.   Any and all documents related to soil tests related to the OPC Site from January 2014 to
      the present.
30.   Any and all documents related to soil tests related to the Washington Park Site from
      January 2014 to the present.
31.   Any and all documents related to the Foundation's concerns regarding the City’s lack of
      control over proposed park sites, as referenced on page 2 of the 2015 Ordinance.
32.   Any and all documents related to real property designated as a replacement parkland as a
      result of locating any buildings on the OPC Site.
33.   Any and all documents related to real property designated as a replacement open space
      property as a result of locating any buildings on the OPC Site.
34.   Any and all documents related to the UPARR grant agreement from 1980 in the amount
      of $125,200, as referenced on page 9 of the 2018 Ordinance.
35.   Any and all documents related to the UPARR grant agreement from 1981 in the amount
      of $135,870. As reference on page 9 of the 2018 Ordinance.
36.   Any and all documents related to any other UPARR grant agreements regarding land in
      Jackson Park, other than those referenced in Requests 2 and 3, above.
37.   Any and all documents related to the City requesting that the NPS approve amendments
      to the UPARR grant agreements to remove the grant conditions from the footprint of the
      Museum, Library and Forum Buildings on the OPC Site, and to transfer those conditions
      to another location, as stated in the 2018 Ordinance.
38.   Any and all documents related to any locations considered by the City and/or the
      Foundation (whether in Jackson Park or outside of Jackson Park) as replacement property
      to comply with UPARR.
39.   Any and all documents related to reviews by the NPS related to the OPC Site.
40.   Any and all documents related to reviews by the FHA related to the OPC Site.
41.   Any and all documents related to roadway closures as a result of locating the OPC at the
      OPC Site, including but not limited to the economic impact and the impact on traffic.
42.   Any and all documents related to roadway closures as a result of locating the OPC at any
      location in Chicago, other than the OPC Site, including but not limited to the economic
      impact and the impact on traffic.
43.   Any and all documents related to the Foundation paying real estate taxes related to the
      Obama Center.
44.   Any and all documents related to the fair market value of the land to be dedicated for use
      of the OPC Site.
45.   Any and all documents related to the Department of Homeland Security providing
      security for the OPC.
46.   Any and all documents related to the reason why the 2018 Ordinance proposed a “Use
      Agreement,” as opposed to a lease referenced in the 2015 Ordinance.
47.   Any and all documents related to the RFP.
48.   Any and all documents related to the UofC’s responses to the RFP.


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49.    Any and all documents related to the UIC’s response to the RFP.
50.    Any and all Bid Packages.
51.    All documents, including but not limited to communications, between the City and the
       Foundation regarding the OPC.
52.    All documents, including but not limited to communications, between the City and the
       UofC regarding the OPC.
53.    All documents, including but not limited to communications, between the City and the
       Park District regarding the OPC.



                                            Respectfully submitted,

                                            /s/ Mark D. Roth
                                                Mark D. Roth




Roth Fioretti, LLC
Mark Roth
Robert Fioretti
311 S. Wacker Drive
Suite 2470
Chicago, IL 60606
Phone: (312) 922-6262
Fax: (312) 922-7747
Email: mark@rothfioretti.com
rwfchicago@yahoo.com


                                   PROOF OF SERVICE

       I, Mark Roth, an attorney, certify that I served the Plaintiffs’ First Request To Produce
to the City of Chicago by email transmission from mark@rothfioretti.com to the following
persons at their email addresses shown below on or before 5:00 pm. on October 23, 2018.




 Richard W. Burke, -
 Burke, Warren, MacKay & Serritella, P.C.                                Chicago Park District
                                                        representing
 330 North Wabash Avenue                                                 (Defendant)
 22nd Floor


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Chicago, IL 60611-3607
(312) 840-7000
Voluntary Withdraw (fax)
rburkesr@burkelaw.com



John Lawrence Hendricks
City Of Chicago Department Of Law
30 North Lasalle St, Suite 1230
Chicago, IL 60602                                             City Of Chicago
                                               representing
(312) 744-6975                                                (Defendant)
Not a member (fax)
john.hendricks@cityofchicago.org



Susan M. Horner
Burke Warren MacKay & Serritella
330 N. Wabash Ave.
22nd Floor
Chicago, IL 60611
312 840 7000
Delinquent (fax)
shorner@burkelaw.com



Elizabeth Meyer Pall
Burke, Warren, Mackay & Serritella, P.c.
330 N. Wabash
Suite 2100
                                                              Chicago Park District
Chicago, IL 60611                              representing
                                                              (Defendant)
(312) 840-7099
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Joseph P. Roddy
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 jroddy@burkelaw.com




 Justin Tresnowski
 City of Chicago Department of Law
 Constitutional and Commercial Litigation Division
 30 N. LaSalle Street
 Suite 1230                                                           City Of Chicago
                                                     representing
 Chicago, IL 60602                                                    (Defendant)
 (312) 744-4216
 Not a member (fax)
 jtresnowski@gmail.com



 Andrew W Worseck
 City of Chicago, Department of Law
 30 North LaSalle Street
 Suite 1230
 Chicago, IL 60602
 (312) 744-7129
 Active (fax)
 aworseck@cityofchicago.org



                                                       /s/Mark Roth
                                                          Mark Roth

Mark Roth
Roth Fioretti LLC
Attorney No. 37547
311 S. Wacker, STE 2470
Chicago, Illinois 60606
(312) 922-6262
mark@rothfioretti.com




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                EASTERN DIVISION

Protect Our Parks, Inc.; Charlotte Adelman;          )
Maria Valencia and Jeremiah Jurevis;                 )       No. 18-cv-03424
              Plaintiffs,                            )
v.                                                   )       Honorable John Robert Blakey
                                                     )
Chicago Park District and City of Chicago,           )       Jury Demanded
             Defendants.                             )



PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO CHICAGO PARK DISTRICT

       Now come the Plaintiffs, Protect Our Parks, Inc.; Charlotte Adelman; Maria Valencia and

Jeremiah Jurevis, through their undersigned attorneys, and pursuant to Rule 33 of the Federal

Rules of Civil Procedure request that the Defendant, Chicago Park District, answer the following

Interrogatories within 30 days from service of this Plaintiffs’ First Set Of Interrogatories To

Chicago Park District.


                                         DEFINITIONS

       The term "person" refers to both natural persons and to corporate or other business

entities, whether or not in the employ of the Chicago Park District.
       To "identify a person" means to state the person's name, business address and telephone

number and, additionally, in the case of a natural person, his home address, employer, present

occupation, job title and telephone number.

       “You” or “yours” shall mean the Chicago Park District.




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                                      INTERROGATORIES


       1.        Identify by name, title, address and telephone number, all persons answering these

interrogatories.

ANSWER:


       2.        Identify all evidence you intend to introduce at any hearing or trial in this case,

including but not limited to the names, addresses and last known addresses of all witnesses, the

expected testimony of such witnesses and a description of all documents you intend to present

into evidence.


ANSWER:

       3.        Identify each person whom you believe has knowledge regarding the allegations

contained in Plaintiff’s Complaint, or your Answer and Affirmative Defenses to the Complaint,

and state the nature, scope and extent of each such person’s knowledge.

ANSWER:

       4.        Identify each person, including each and every expert or potential expert, that you

have contacted regarding any of the matters that are or may be at issue based upon any of the

allegations or defenses included in the Plaintiff’s Complaint or your Answer and Affirmative

Defenses to the Complaint, and, with respect to each such person:


   a. Identify and describe the nature, scope and extent of each such person’s knowledge;

   b. Identify each opinion, comment and/or communication made by or to that person

       regarding any of the matters that are or may be at issue in this litigation;

   c. State the basis for each such opinion and/or communication referenced in subpart b

       hereof;


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   d. If that person is expected to testify in this matter, sate the substance of that person’s

      testimony;

   e. Identify all written reports or memoranda which that person prepared in connection with

      this case;

   f. Attach to your interrogatory answers copies of any written reports prepared in connection

      with this case;

   g. For all matters in which such person has given testimony in the last 10 years, identify the

      case name, case number, court where the action was/is pending, and the substance of that

      person's testimony and opinions; and

   h. Identify all articles, books, literature and other publications or papers on which that

      person will rely in connection with this case.


ANSWER:


                                             Respectfully submitted,

                                             /s/ Mark D. Roth
                                                 Mark D. Roth




Roth Fioretti, LLC
Mark Roth
Robert Fioretti
311 S. Wacker Drive
Suite 2470
Chicago, IL 60606
Phone: (312) 922-6262
Fax: (312) 922-7747
Email: mark@rothfioretti.com
rwfchicago@yahoo.com



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                                   PROOF OF SERVICE

       I, Mark Roth, an attorney, certify that I served the Plaintiffs’ First Set Of

Interrogatories To Chicago Park District by email transmission from mark@rothfioretti.com

to the following persons at their email addresses shown below on or before 5:00 pm. on October

23, 2018.




 Richard W. Burke, -
 Burke, Warren, MacKay & Serritella, P.C.
 330 North Wabash Avenue
 22nd Floor
                                                                       Chicago Park District
 Chicago, IL 60611-3607                                representing
                                                                       (Defendant)
 (312) 840-7000
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 rburkesr@burkelaw.com



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                                                       representing
 (312) 744-6975                                                        (Defendant)
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 Susan M. Horner
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 Chicago, IL 60611
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 Delinquent (fax)
 shorner@burkelaw.com



 Elizabeth Meyer Pall                                                  Chicago Park District
                                                       representing
 Burke, Warren, Mackay & Serritella, P.c.                              (Defendant)

                                              4
Case: 1:18-cv-03424 Document #: 85-3 Filed: 02/05/19 Page 14 of 29 PageID #:2171




330 N. Wabash
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Suite 1230                                                         City Of Chicago
                                                    representing
Chicago, IL 60602                                                  (Defendant)
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Not a member (fax)
jtresnowski@gmail.com



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Active (fax)
aworseck@cityofchicago.org




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                                                  /s/Mark Roth
                                                     Mark Roth

Mark Roth
Roth Fioretti LLC
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311 S. Wacker, STE 2470
Chicago, Illinois 60606
(312) 922-6262
mark@rothfioretti.com




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 Case: 1:18-cv-03424 Document #: 85-3 Filed: 02/05/19 Page 16 of 29 PageID #:2173



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS,
                               EASTERN DIVISION

Protect Our Parks, Inc.; Charlotte Adelman;         )
Maria Valencia and Jeremiah Jurevis;                )       No. 18-cv-03424
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v.                                                  )       Honorable John Robert Blakey
                                                    )
Chicago Park District and City of Chicago,          )       Jury Demanded
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PLAINTIFFS’ FIRST REQUEST TO PRODUCE TO THE CHICAGO PARK DISTRICT

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Roth Fioretti, CCL 311 S. Wacker Drive, Suite 2470, Chicago Illinois within 30 days from
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                                        DEFINITIONS

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3.     "And" and "or" shall be construed disjunctively or conjunctively as necessary in order to
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 Case: 1:18-cv-03424 Document #: 85-3 Filed: 02/05/19 Page 17 of 29 PageID #:2174



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6.     "Relating to," "relates to," and “regarding” mean, without limitation, relating to,
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include City departments, including but not limited the the Department of Planning and
Development, the Chicago Department of Transportation and the Office of the Mayor and all
other persons acting or purporting to act on behalf of the City.

10.    “Chicago Park District” shall mean the Chicago Park District, and all other persons acting
or purporting to act on behalf of the Chicago Park District.

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 Case: 1:18-cv-03424 Document #: 85-3 Filed: 02/05/19 Page 18 of 29 PageID #:2175



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24.    “Amendment to Museum Act” means the amendments to the Museum Act enacted in the
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26.    “FHA” means the Federal Highway Administration.

27.    “SHPO” means the Illinois Historic Preservation Office.

                              REQUEST FOR PRODUCTION

Produce all of the following documents and tangible things in your possession, custody or
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       Chicago.
2.     Any and all documents related to any analysis related to costs and expenses to the public
       regarding locating the OPC on the OPC Site.
3.     Any and all documents related to any analysis discussing the public or private benefits to
       any private person or entity, regarding locating the OPC on the OPC Site.
4.     Any and all documents related to any analysis of benefits to the Foundation as a result of
       locating the OPC at the OPC Site.
5.     Any and all documents related to any analysis of benefits to the Foundation as a result of
       locating the OPC at any location in Chicago other than the OPC Site.
6.     Any and all documents related to any analysis related to costs and expenses to the public
       regarding locating the OPC on the Washington Park Site.
7.     Any and all documents related to any analysis, including but not limited to public or
       private benefits to any private person or entity, regarding locating the OPC on the
       Washington Park Site.
8.     Any and all documents related to any analysis related to costs and expenses to the public
       regarding locating the OPC on the South Shore Cultural Center Site.

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9.    Any and all documents related to any analysis, including but not limited to public or
      private benefits, regarding locating the OPC on the South Shore Cultural Center Site
10.   Any and all documents related to any analysis related to costs and expenses to the public
      regarding locating the OPC on a site in Chicago other than those referenced in Requests 2
      to 9 inclusive.
11.   Any and all documents related to any analysis, including but not limited to public or
      private benefits to any private person or entity, regarding locating the OPC on a site in
      Chicago other than those referenced in Requests 2-9.
12.   Any and all documents related to the change of boundaries of the OPC Site from the
      original location proposed in the 2015 Ordinance to the OPC Site.
13.   Any and all documents related to related to the fair market value of the OPC Site.
14.   Any and all covenants, restrictions, deeds, liens, encumbrances and grants related to
      Jackson Park at any time to the present.
15.   Any and all covenants, restrictions, deeds, liens, encumbrances and grants recorded on
      title to the OPC Site.
16.   Any and all title commitments or title reports related to the OPC Site.
17.   Any and all documents related to the cost to the State of Illinois as a result of locating the
      OPC at the OPC Site.
18.   Any and all documents related to the reason why the Presidential Center will not include
      a “Presidential Library,” as defined in The Presidential Library Act of 1955.
19.   Any and all documents related to the OPC’s compliance with the Museum Act.
20.   Any and all documents related to drafts of the Amendment to the Museum Act.
21.   Any and all documents related to lobbying related to amending the terms of the Museum
      Act.
22.   Any and all documents related to communications regarding the Amendment to the
      Museum Act.
23.   Any and all documents, including communications, to or from the Foundation related to
      the Museum Act.
24.   Any and all documents, including communications, to or from the UofC related to the
      Museum Act
25.   Any and all documents related to the Park District’s involvement with the Amendment to
      the Museum Act.
26.   Any and all documents related to the 2016 to the Amendment to the Museum’s Act’s
      declaration that “The changes made to this Section by this amendatory Act of the 99th
      General Assembly are declaratory of existing law and shall not be construed as a new
      enactment.”
27.   Any and all documents related to any analysis or study related to environmental or other
      remediation necessary to accommodate the OPC on the OPC Site.
28.   Any and all documents related to the City’s incremental costs of remediating the OPC
      Site as referenced in the Environmental Agreement.


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29.   Any and all documents related to soil tests related to the OPC Site from January 2014 to
      the present.
30.   Any and all documents related to soil tests related to the Washington Park Site from
      January 2014 to the present.
31.   Any and all documents related to the Foundation's concerns regarding the City’s lack of
      control over proposed park sites, as referenced on page 2 of the 2015 Ordinance.
32.   Any and all documents related to real property designated as a replacement parkland as a
      result of locating any buildings on the OPC Site.
33.   Any and all documents related to real property designated as a replacement open space
      property as a result of locating any buildings on the OPC Site.
34.   Any and all documents related to the UPARR grant agreement from 1980 in the amount
      of $125,200, as referenced on page 9 of the 2018 Ordinance.
35.   Any and all documents related to the UPARR grant agreement from 1981 in the amount
      of $135,870. As reference on page 9 of the 2018 Ordinance.
36.   Any and all documents related to any other UPARR grant agreements regarding land in
      Jackson Park, other than those referenced in Requests 2 and 3, above.
37.   Any and all documents related to the City requesting that the NPS approve amendments
      to the UPARR grant agreements to remove the grant conditions from the footprint of the
      Museum, Library and Forum Buildings on the OPC Site, and to transfer those conditions
      to another location, as stated in the 2018 Ordinance.
38.   Any and all documents related to any locations considered by the City and/or the
      Foundation (whether in Jackson Park or outside of Jackson Park) as replacement property
      to comply with UPARR.
39.   Any and all documents related to reviews by the NPS related to the OPC Site.
40.   Any and all documents related to reviews by the FHA related to the OPC Site.
41.   Any and all documents related to roadway closures as a result of locating the OPC at the
      OPC Site, including but not limited to the economic impact and the impact on traffic.
42.   Any and all documents related to roadway closures as a result of locating the OPC at any
      location in Chicago, other than the OPC Site, including but not limited to the economic
      impact and the impact on traffic.
43.   Any and all documents related to the Foundation paying real estate taxes related to the
      Obama Center.
44.   Any and all documents related to the fair market value of the land to be dedicated for use
      of the OPC Site.
45.   Any and all documents related to the Department of Homeland Security providing
      security for the OPC.
46.   Any and all documents related to the reason why the 2018 Ordinance proposed a “Use
      Agreement,” as opposed to a lease referenced in the 2015 Ordinance.
47.   Any and all documents related to the RFP.
48.   Any and all documents related to the UofC’s responses to the RFP.


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49.    Any and all documents related to the UIC’s response to the RFP.
50.    Any and all Bid Packages.
51.    All documents, including but not limited to communications, between the Park District
       and the Foundation regarding the OPC.
52.    All documents, including but not limited to communications, between the Park District
       and the UofC regarding the OPC.
53.    All documents, including but not limited to communications, between the Park District
       and the City regarding the OPC.



                                            Respectfully submitted,

                                            /s/ Mark D. Roth
                                                Mark D. Roth




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                                   PROOF OF SERVICE

       I, Mark Roth, an attorney, certify that I served the Plaintiffs’ First Request To Produce
to the Chicago Park District by email transmission from mark@rothfioretti.com to the
following persons at their email addresses shown below on or before 5:00 pm. on October 23,
2018.




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 Burke, Warren, MacKay & Serritella, P.C.               representing
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                                                       /s/Mark Roth
                                                          Mark Roth

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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                EASTERN DIVISION

Protect Our Parks, Inc.; Charlotte Adelman;          )
Maria Valencia and Jeremiah Jurevis;                 )       No. 18-cv-03424
              Plaintiffs,                            )
v.                                                   )       Honorable John Robert Blakey
                                                     )
Chicago Park District and City of Chicago,           )       Jury Demanded
             Defendants.                             )



     PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO CITY OF CHICAGO

       Now come the Plaintiffs, Protect Our Parks, Inc.; Charlotte Adelman; Maria Valencia and

Jeremiah Jurevis, through their undersigned attorneys, and pursuant to Rule 33 of the Federal

Rules of Civil Procedure request that the Defendant, City of Chicago, answer the following

Interrogatories within 30 days from service of this Plaintiffs’ First Set Of Interrogatories To City

Of Chicago.


                                         DEFINITIONS

       The term "person" refers to both natural persons and to corporate or other business

entities, whether or not in the employ of the City of Chicago.
       To "identify a person" means to state the person's name, business address and telephone

number and, additionally, in the case of a natural person, his home address, employer, present

occupation, job title and telephone number.

       “You” or “yours” shall mean the City of Chicago.




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                                      INTERROGATORIES


       1.        Identify by name, title, address and telephone number, all persons answering these

interrogatories.

ANSWER:


       2.        Identify all evidence you intend to introduce at any hearing or trial in this case,

including but not limited to the names, addresses and last known addresses of all witnesses, the

expected testimony of such witnesses and a description of all documents you intend to present

into evidence.


ANSWER:

       3.        Identify each person whom you believe has knowledge regarding the allegations

contained in Plaintiff’s Complaint, or your Answer and Affirmative Defenses to the Complaint,

and state the nature, scope and extent of each such person’s knowledge.

ANSWER:

       4.        Identify each person, including each and every expert or potential expert, that you

have contacted regarding any of the matters that are or may be at issue based upon any of the

allegations or defenses included in the Plaintiff’s Complaint or your Answer and Affirmative

Defenses to the Complaint, and, with respect to each such person:


   a. Identify and describe the nature, scope and extent of each such person’s knowledge;

   b. Identify each opinion, comment and/or communication made by or to that person

       regarding any of the matters that are or may be at issue in this litigation;

   c. State the basis for each such opinion and/or communication referenced in subpart b

       hereof;


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   d. If that person is expected to testify in this matter, sate the substance of that person’s

      testimony;

   e. Identify all written reports or memoranda which that person prepared in connection with

      this case;

   f. Attach to your interrogatory answers copies of any written reports prepared in connection

      with this case;

   g. For all matters in which such person has given testimony in the last 10 years, identify the

      case name, case number, court where the action was/is pending, and the substance of that

      person's testimony and opinions; and

   h. Identify all articles, books, literature and other publications or papers on which that

      person will rely in connection with this case.


ANSWER:


                                             Respectfully submitted,

                                             /s/ Mark D. Roth
                                                 Mark D. Roth




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                                   PROOF OF SERVICE

        I, Mark Roth, an attorney, certify that I served the Plaintiffs’ First Set Of

Interrogatories To City Of Chicago by email transmission from mark@rothfioretti.com to the

following persons at their email addresses shown below on or before 5:00 pm. on October 23,

2018.




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 Elizabeth Meyer Pall                                                Chicago Park District
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                                                  /s/Mark Roth
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